                                                 Case 4:22-md-03047-YGR Document 108 Filed 12/15/22 Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                                                                                                                       COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                                                                .
                  CAND 435
              (CAND Rev. 02/2015)                                                                 Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                    3. CONTACT EMAIL ADDRESS
 Anthony M. Geritano                                                                      (212) 497-7752                                                         ageritano@wsgr.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                   3. ATTORNEY EMAIL ADDRESS
 Lauren Gallo White                                                                       (415) 947-2058                                                         lwhite@wsgr.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                               6. CASE NUMBER
Wilson Sonsini Goodrich & Rosati, P.C., One Market                                                            IN RE SOCIAL MEDIA ADOLESCENT ADDICTION                                                   22-md-3047-YGR
Plaza, Spear Tower, Suite 3300, San Francisco, CA
94105                                                                                                        8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)" " FTR                                          " APPEAL             " CRIMINAL        " In forma pauperis (NOTE: Court order for transcripts must be attached)

Raynee Mercado                                                                                               " NON-APPEAL         " CIVIL           CJA: Do not use this form; use Form CJA24.

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                         b.             SELECT FORMAT(S) (NOTE: ECF access is included           c.          DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED     ECF ACCESS    ORDINARY      14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                     (initials)                   If requesting less than full hearing,        (email)        (email)                   (email)        (web)       (30-day)               (7-day)      (Next day)    (2 hrs)
                                    (e.g. CMC)   specify portion (e.g. witness or time)

12/14/2022           YGR             Conf                                                       F              F            F               F          F            F            F         F             F           F           F
                                                                                                F              F            F               F          F            F            F         F             F           F           F
                                                                                                F              F            F               F          F            F            F         F             F           F           F
                                                                                                F              F            F               F          F            F            F         F             F           F           F
                                                                                                F              F            F               F          F            F            F         F             F           F           F
                                                                                                F              F            F               F          F            F            F         F             F           F           F
10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                                 12. DATE

11. SIGNATURE
                    s/ Lauren Gallo White                                                                                                                                            12/15/2022

DISTRIBUTION:                                " COURT COPY                                                " TRANSCRIPTION COPY                                " ORDER RECEIPT                                 " ORDER COPY
